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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                           )
    In re                                                  )         Chapter 11
                                                           )
    CLOUD PEAK ENERGY INC., et al.,                        )         Case No. 19 – 11047 (KG)
                                                           )
                   Debtors.1                               )         (Jointly Administered)
                                                           )

                     NOTICE OF AGENDA OF MATTERS SCHEDULED
                   FOR HEARING ON OCTOBER 15, 2019 AT 9:30 A.M. (ET)2

I.          MATTER GOING FORWARD:

1.          Motion of Debtors for Entry of an Order (I) Conditionally Approving the Disclosure
            Statement; (II) Scheduling a Combined Plan and Disclosure Statement Hearing; (III)
            Approving Solicitation Packages and Procedures; (IV) Approving the Form of
            Ballots; and (V) Granting Related Relief [Docket No. 685 – filed October 4, 2019]

            Objection/Response Deadline:             October 14, 2019 at 12:00 p.m. (ET)

            Objections/Responses Received to Date:

            A.     Informal response from the United States Securities and Exchange
                   Commission (the “SEC”)



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      The Debtors in these chapter 11 cases and the last four digits of their respective federal tax identification
      numbers are: Antelope Coal LLC (8952); Arrowhead I LLC (3024); Arrowhead II LLC (2098); Arrowhead III
      LLC (9696); Big Metal Coal Co. LLC (0200); Caballo Rojo LLC (9409); Caballo Rojo Holdings LLC (4824);
      Cloud Peak Energy Finance Corp. (4674); Cloud Peak Energy Inc. (8162); Cloud Peak Energy Logistics LLC
      (7973); Cloud Peak Energy Logistics I LLC (3370); Cloud Peak Energy Resources LLC (3917); Cloud Peak
      Energy Services Company (9797); Cordero Mining LLC (6991); Cordero Mining Holdings LLC (4837);
      Cordero Oil and Gas LLC (5726); Kennecott Coal Sales LLC (0466); NERCO LLC (3907); NERCO Coal LLC
      (7859); NERCO Coal Sales LLC (7134); Prospect Land and Development LLC (6404); Resource Development
      LLC (7027); Sequatchie Valley Coal Corporation (9113); Spring Creek Coal LLC (8948); Western Minerals
      LLC (3201); Youngs Creek Holdings I LLC (3481); Youngs Creek Holdings II LLC (9722); Youngs Creek
      Mining Company, LLC (5734). The location of the Debtors’ service address is: 385 Interlocken Crescent,
      Suite 400, Broomfield, Colorado 80021.
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      The telephonic hearing will be held before The Honorable Kevin Gross at the United States Bankruptcy Court
      for the District of Delaware. Any person who wishes to appear at the October 15, 2019 hearing must contact
      COURTCALL, LLC at 866-582-6878 to register his/her telephonic appearance in accordance with the
      Instructions for Telephonic Appearances Effective January 5, 2005, Revised May 11, 2018. All motions and
      other     pleadings    referenced   herein    are   available   online    at   the    following    address:
      http://cases.primeclerk.com/cloudpeakenergy.




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         B.        Informal response from the Official Committee of Unsecured Creditors (the
                   “Committee”)

         C.        Informal response from the Unsecured Notes Trustee

         D.        Informal response from the United States Department of Justice (the “DOJ”)

         E.        Informal response from Arch Insurance Company, Argonaut Insurance
                   Company, Aspen American Insurance Company, Aspen Specialty Insurance
                   Company, Fidelity and Deposit Company of Maryland, Colonial American
                   Casualty and Surety Company, American Guarantee and Liability Insurance
                   Company, and North American Specialty Insurance Company (collectively,
                   the “Sureties” and, together with the SEC, the Committee, the Unsecured
                   Notes Trustee and the DOJ, the “Informal Respondents”).

         Related Documents:

         i.        Joint Chapter 11 Plan of Cloud Peak Energy Inc. and Certain of its Debtor
                   Affiliates [Docket No. 680 – filed October 4, 2019]

         ii.       [Proposed] Disclosure Statement for the Joint Chapter 11 Plan of Cloud Peak
                   Energy Inc. and Certain of its Debtor Affiliates [Docket No. 681 – filed
                   October 4, 2019]

         iii.      Order (I) Shortening Notice of Hearing on Motion Seeking, Inter Alia,
                   Conditional Approval of Disclosure Statement and (II) Granting Related
                   Relief [Docket No. 687 – entered October 7, 2019]

         iv.       Notice of Motion and Hearing [Docket No. 688 – filed October 7, 2019]

         Status: At this time, the Debtors continue to engage in discussions with the Informal
                 Respondents. However, at this time, all of the informal responses have not
                 yet been resolved. Accordingly, the hearing on this matter will go forward.




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Dated: October 10, 2019
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